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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS



UNITED STATES OF AMERICA


             v.                     No. 24-cr-10071-FDS


ERIC TABARO NSHIMIYE, a/k/a
Eric Tabaro Nshimiyimana,
           Defendant.



          ORDER ON DEFENDANT’S MOTION IN SUPPORT OF BOND


CABELL, Chief U.S.M.J.

I.   Introduction

     On March 21, 2024, the defendant Eric Tabaro Nshimiye, a/k/a

Eric Tabaro Nshimiyimana, was arrested in the Northern District of

Ohio (“the Ohio court”) on a criminal complaint issued by this

court charging him with violations of:             18 U.S.C. § 1623(a)

(perjury); 18 U.S.C. §§ 1503, 2 (obstruction of justice and aiding

and abetting); and 18 U.S.C. § 1001(a)(1) (falsifying, concealing,

and covering up a material fact by trick, scheme, or device).           The

charges stem from the defendant’s purportedly false claims in

connection with:    (1) his May 1995 application for classification

as a refugee in this country; (2) his March 1997 application for

permanent residency; and (3) his 2001 application for United States

citizenship.      The perjury and obstruction of justice charges
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pertain to his trial testimony in United States v. Teganya, 1:17-

cr-1-292-FDS.     (D. 1-1, ¶¶ 35-36).        The backdrop for all of the

charges is the defendant’s allegedly active role in the 1994

genocide and persecution of Tutsis in Rwanda.             (D. 1-1).

      On March 26, a grand jury indicted the defendant.             Three days

later, a Magistrate Judge in the Ohio court conducted a detention

hearing.     In a ruling made in open court, she detained the

defendant pending trial based on the absence of conditions that

will reasonably assure the defendant’s appearance.                  (D. 22-1).

Having waived an identity hearing and agreed to be transferred to

this court (D. 22-1, p. 6) (D. 6), the defendant presently moves

for pretrial release in a motion for a bond.             (D. 18).

      On April 30, this court conducted a hearing on the motion. 1

During that hearing, the defendant confirmed that he is seeking to

reopen the matter of detention considered by the Magistrate Judge

in Ohio to this court, as opposed to seeking an appeal of the

decision    to   this   court. 2    In     furtherance    of   reopening   and

reconsidering detention, the defendant identified five properties




1 At the hearing, this court determined that the Magistrate Judge’s decision
was not limited to the defendant’s detention traveling to the District of
Massachusetts. Rather, the decision included the defendant’s pretrial detention
thereafter.

2 Hence, the untimeliness of any appeal, as argued by the government (D. 20)

and disputed by the defendant (D. 25), and the merits of such an appeal are
not before this court.


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that his friends and family are willing to post to secure an

appearance bond. 3      (D. 18, p. 2) (D. 25, p. 3).

        Citing United States v. Dillon, 938 F.2d 1412, 1415 (1st Cir.

1991),     the   government    argues    in     opposition    that    information

regarding the offer of additional surety was available at the time

of the detention hearing and was capable of being known using

reasonable       diligence.      (D.    20,     pp.   4-6).       Thus,   per    the

government’s argument, this is not a situation where “information

exists that was not known to [the defendant] at the time of the

[detention] hearing” to justify reopening under 18 U.S.C. § 3142(f)

(“section 3142(f)”).          (D. 20, pp. 4-6) (quoting and discussing

section 3142(f)).        For the following reasons, the government is

correct, and the motion (D. 18) is accordingly denied.

II.     Proceedings in Ohio

        At the defendant’s March 21 initial appearance in Ohio, the

government moved for detention based on risk of flight, danger to

the community, and obstruction of justice.                (D. 22-1, p. 9) (D.

20, p. 2).       The Magistrate Judge appointed counsel to represent

the defendant (“defendant’s Ohio counsel”).

        Eight days later, she conducted the detention hearing.                  Prior

to the hearing, the defendant provided the court approximately 70

letters from his family, friends, community members, coworkers,



3   He is also willing to post his residence.    (D. 18, p. 2).


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and others.    (D. 18-1).      In the context of acknowledging these

letters, the Magistrate Judge described an “outpouring of support”

by what she saw in the courtroom.            (D. 22-1, p. 36).            The

defendant’s Ohio counsel portrayed the courtroom as at record

capacity.   (D. 22-1, p. 13).

     Importantly, at the outset of the detention hearing, the

defendant and the government stated they had had an adequate

opportunity to prepare for the hearing.            (D. 22-1, p. 8).       The

parties proceeded by way of proffer and affirmed their receipt of

a pretrial services report (“PSR”).           The PSR recommended the

defendant’s release on a $20,000 unsecured bond.             Citing this

recommendation, the defendant asked the Magistrate Judge to impose

an unsecured bond.     (D. 22-1, p. 32).     The government argued for

a bond secured by the defendant’s house in the event the Magistrate

Judge decided to release the defendant.       (D. 22-1, p. 19).        During

the detention hearing, the defendant’s Ohio counsel represented

that the defendant’s wife and nephew were willing to serve as

third-party custodians.       (D. 22-1, pp. 14-15).

     As   indicated,    the   Magistrate   Judge    determined   that    “no

conditions will reasonably assure [the defendant’s] appearance.”

(D. 22-1, p. 42).      She identified several conditions recommended

by pretrial services that she considered and rejected.           (D. 22-1,

p. 41).   She did not mention a bond secured by the property of the

defendant’s friends and family or by the defendant’s residence.

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      III.    The Parties’ Arguments

      As   indicated   previously,   the      government    argues   that     the

defendant fails to satisfy section 3142(f) because there were facts

capable of being known about the offer of additional surety at the

time of the detention hearing by exercising reasonable diligence.

(D. 20).     The government also argues that a decision to reopen the

hearing and conduct a further hearing is discretionary.               (D. 20).

The defendant responds “that none of the newly available collateral

was   previously    available,    offered,       or   evaluated      by   [the]

Magistrate Judge.”      (D. 25, p. 5).         He also argues “there was

little reason to explore additional” collateral “after pretrial

services recommended release on [the] $20,000 unsecured bond.”

(D. 25, p. 3).

IV.   Legal Analysis

      Section    3142(f)    provides,    in     pertinent    part,     that    a

detention:

      hearing may be reopened . . . at any time before trial if
      the judicial officer finds that information exists that was
      not known to the movant at the time of the hearing and that
      has a material bearing on the issue whether there are
      conditions of release that will reasonably assure the
      appearance of such person as required and the safety of any
      other person and the community.

18 U.S.C. § 3142(f).       “The rationale for the rule is to encourage

a party to be diligent in bringing forth all material evidence the

first time a hearing is held and discourage piecemeal presentations



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or prolonged proceedings absent a demonstrated legitimate reason

for not presenting the evidence.”

United States v. Fordham, Case No. 3:22-cr-109-1, 2022 WL 2898912,

at *4 (M.D. Tenn. July 21, 2022) (citation omitted).

      The First Circuit interprets information “not known to the

movant at the time of the hearing,” 18 U.S.C. § 3142(f), as

excluding information about the evidence that was available to the

defendant at the time of the detention hearing even if the evidence

itself did not yet exist.        See Dillon, 938 F.3d at 1415 (quoting

section   3142(f)    and   affirming       district   court’s   rejection    of

letters and affidavits offered after hearing even though not in

existence at time of hearing). 4           In Dillon, the defendant sought

to reopen the detention hearing to offer 18 affidavits, seven

letters, and an offer by his father “to post his three-family house

as security.”       Id.     Even though “the letters and affidavits

themselves were not in existence at the time of the [detention]

hearing,” the First Circuit affirmed the district court’s decision

not to reopen the detention hearing under section 3142(f).                  Id.

The court pointed out “that ‘numerous relatives and friends’ of

[the defendant] had shown up for the hearing . . ., lending support


4 In contrast, a relevant judicial ruling that is made after a detention hearing
may allow reopening the detention hearing. See id. (citing United States v.
Peralta, 849 F.2d 625, 626-627 (D.C. Cir. 1998), as upholding reopening
“detention hearing when government sought to put in evidence of a ruling adverse
to defendant, on a suppression motion entered after original detention
hearing”).


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to the court’s finding that the information contained in the

affidavits and letters was indeed available to appellant at the

time of the hearing.”           Id. (second emphasis added).

        Similarly here, the information regarding the sureties, their

properties, and their willingness to collateralize them                             was

available to the defendant at the time of the detention hearing.

To     explain,    two   of     the    individuals        offering   to    post    their

properties wrote two of the 70 letters supporting the defendant.

(D.     18-1,   pp.    31-32,    52)    (D.     25,   p.    3). 5    The   government

represented, and the defendant did not dispute, that these two

individuals are the defendant’s brother and nephew. The government

identified        another     individual       as   the    defendant’s     uncle     and

portrayed him as fully engaged in the Ohio proceedings. 6                            The

defendant,        in   turn,    described       the   sureties,      including      the

remaining two individuals, as the defendant’s “friends and family

members.”       (D. 25, p. 3).        Moreover, the defendant’s Ohio counsel

described the courtroom during the detention hearing as at “record

capacity” and observed that:

        From [his] understanding, there are people who are not able
        to enter the courtroom because we do not have room for
        them. As many people that can fit into [the] courtroom are
        here to support Mr. Nshimiye.


5 One couple and four individuals each offered to post one property. (D. 25,
p. 3).   For ease of reference, the court refers to five as opposed to six
individuals.

6   Again, the defendant did not dispute the government’s representation.


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(D. 22-1, p. 13).     It therefore stands to reason that the defendant

not only knew these five relatives and friends, but he also knew

(or    had   information   available)     of    their    support    and    their

willingness to post their properties as security.              Indeed, a court

in this district concluded that a belated offer to post two

properties to support an appearance bond was not “previously

nonexistent    information”    and,   consequently,      failed     to    warrant

reopening the detention hearing. See, e.g., United States v. Mateo

Soto, Criminal No. 16-10350-RGS, 2017 WL 3705797, at *1-2 (D. Mass.

Aug.   25,   2017)   (discussing    Dillon     and   rejecting     proposal    of

properties as security for appearance bond as warranting reopening

under section 3142(f)); id. (further stating, “Defendant has not

shown that the properties or the willingness of their owners to

post them is previously nonexistent information” under section

3142(f)).

       Furthermore, like the willingness of the defendant’s five

relatives and friends to post their properties as security, the

defendant’s father in Dillon “offered to post his three-family

house as security” after the detention hearing.               Dillon, 938 F.2d

at 1415.     Nonetheless, the court found no error with the district

court’s decision not to reopen the hearing.             Id.

       Separately, as aptly pointed out by the government, the

defendant had more than a week to prepare for the detention

hearing.     Pertinent to this point, the First Circuit in Dillon

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noted that, as pointed out by the district court, “[the defendant]

had had sufficient time to obtain the affidavits and letters.”

Dillon, 938 F.2d at 1415.            In Dillon, there was a nine-day period

between     the   time   the    government     moved    for   detention     and   the

magistrate judge conducted the detention hearing.                    The defendant

therefore had enough time to obtain the 18 affidavits and seven

letters authored by the defendant’s friends, family members, a

police officer, a former hockey coach, and a pastor.                  Id.   In like

fashion here, the defendant had sufficient time (eight days) to

obtain the offers from the five sureties by the time of the

detention hearing.

      In sum, the offers of the five individuals to post their

residences as collateral is not new information within the meaning

of section 3142(f). More precisely, this court fails to find “that

information exists that was not known to the movant at the time of

the hearing.” 7        18 U.S.C. § 3142(f).            The defendant’s argument

“that   none      of   the   newly     available    collateral     was   previously

available” (D. 25, p. 5) is therefore not convincing.

      The    defendant’s       other    arguments    fail     to   persuade.      The

defendant primarily argues that he had “little reason to explore


7 In light of the court’s conclusion that there was available information, it
is not necessary to address the government’s argument that a decision to reopen
the detention hearing is discretionary. Even assuming dubitante that reopening
is mandatory, the language conditions a reopening upon a finding that
information exists that was not known to the defendant. 18 U.S.C. § 3142(f)
(“The hearing may be reopened . . . if the judicial officer finds that
information exists that was not known to the movant at the time of the hearing
. . . .”) (emphasis added).

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additional available collateral . . . after pretrial services

recommended” an unsecured $20,000 bond.                    (D. 25, p. 3).          The

recommendation,        however,    does     not   directly     bear   upon    whether

information exists about the five sureties’ offers “that was not

known to the [defendant] at the time of the [detention] hearing.”

18 U.S.C. § 3142(f).          Similarly, the argument that the defendant,

in   essence,    did    not    need   to    explore     available     collateral    is

distinct from whether the information was available.

       The defendant also argues that the Magistrate Judge in Ohio

“did   not   consider     any     available       collateral    in    reaching     her

decision.”      (D. 25, p. 4).        The government, however, argued there

that, if the Magistrate Judge was considering release, she should

require a bond secured by the defendant’s residence.                         The fact

that she did not reference and reject a secured bond or collateral

in her decision does not mean she did not consider available

collateral.        Even       assuming     she    did   not   consider    available

collateral, this court would still not find “that information

exists that was not known to the [defendant] at the time of the

[detention] hearing.”          18 U.S.C. § 3142(f).

       The defendant’s arguments challenging the Magistrate Judge’s

decision that he posed a risk of nonappearance and that pretrial

detention was not necessary implicate the merits of the detention

decision.     (D. 18).     This court’s finding that information exists



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that was known to the defendant within the meaning of section

3142(f) pre-terminates this inquiry into the merits.

     As   a   final   matter,    the        defendant   filed   a     notice   of

supplemental authorities.       (D. 29).          Having considered the cited

cases, they are unpersuasive.           The most relevant case, United

States v. Ward, 63 F. Supp. 2d 1203, 1205, 1207 (C.D. Cal. 1999)

(reopening detention hearing to consider defendant’s “property to

secure    [defendant’s]   appearance”             because   “full     extent   of

[defendant’s] potential sureties was not fully known and available

to him” at detention hearing), is distinguishable.                  The court in

Ward conducted the detention hearing and detained the defendant

one day after the defendant’s arrest and on the same day that the

government moved for detention.             Id.     Here, unlike the one-day

time period in Ward, the defendant had sufficient time (eight days)

to prepare for the detention hearing and confirmed having adequate

time to prepare for that hearing in open court.             See United States

v. Martin, Case No. 13–cr–00466–JSW–2 (KAW), 2015 WL 3464937, at

*3 (N.D. Cal. May 29, 2015) (“[U]nlike in Ward, where the detention

hearing was held a day after the defendant was arrested, here,

Defendant had sufficient time to ascertain his sureties prior to

his detention hearing.”).

V.   Conclusion

     Per the foregoing, the defendant’s motion in support of bond

(D. 18) is DENIED.

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                                      s/ Donald L. Cabell_________
                                   DONALD L. CABELL, Chief U.S.M.J.


DATED:   May 17, 2024




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